             Case 1:18-cv-01610-JEB Document 1 Filed 07/06/18 Page 1 of 8




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

BONGHOON LEE
8, Songi-ro 19-gil, Songpa-gu,
Seoul South Korea,

Against
                                                Case No.:
ANGELA KERWIN, in her official capacity
as U.S. Consul General, Seoul Korea
188 Sejong-daero,                       COMPLAINT
Jongno-gu, Seoul 03141 Korea

UNITED STATES CITIZENSHIP AND
IMMIGRATION SERVICES
111 Massachusetts Ave., NW
MS 2260
Washington, DC 20529-2260

And

KRISTINE R. CRANDALL, in her official
capacity as the Acting Director of the United
States Citizenship and Immigration Services’
Nebraska Service Center, 850 S Street,
Lincoln NE 68508

Defendants




                                                1
     Case 1:18-cv-01610-JEB Document 1 Filed 07/06/18 Page 2 of 8




                        DESCRIPTION OF ACTION

1. This is an action brought by plaintiff, BONGHOON LEE to compel a

   decision on his application for an immigrant visa which has been pending

   with the Consul General in Seoul, Republic of Korea, for over one and one

   half years, as well as to bring to a conclusion the unspecified “processing”

   the United States Citizenship and Immigration Services’ Nebraska Service

   Center has been engaged in pertaining to TLC Animal Clinic’s Petition for

   Immigrant Worker upon BONGHOON LEE’s behalf.

                             JURISDICTION

2. This being a civil action against the United States arising under the

   Immigration and Nationality Act, 8 U.S.C. § 1101 et. seq., the Mandamus

   Act, 28 U.S.C. § 1361, and the Administrative Procedure Act, 5 U.S.C. §

   701 et seq., all laws of the United States, original jurisdiction over this

   matter is vested in this Court by 28 U.S.C. § 1331.


                       DESCRIPTION OF PARTIES


3. The plaintiff, BONGHOON LEE, is a citizen of the Republic of Korea.

4. The Defendant ANGELA KERWIN is the Consul General at the U.S.
   Embassy in Seoul, and as such has the authority to issue immigrant visas.



                                       2
        Case 1:18-cv-01610-JEB Document 1 Filed 07/06/18 Page 3 of 8




  5. The UNITED STATES CITIZENSHIP AND IMMIGRATION SERVICES
     (USCIS) is an agency of the United States government within the
     Department of Homeland Security. It apparently claims the right to engage
     in unspecified “processing” of immigrant visa petitions.


  6. KRISTINE R. CRANDALL is the Acting Director of the USCIS’s
     Nebraska Service Center. She apparently oversees the said “processing”
     upon the USCIS’s behalf.


                  BRIEF STATEMENT OF RELEVANT FACTS

  7. On August 23, 2016, the USCIS approved TLC Animal Clinic’s Petition

     for Immigrant Worker (Form I-140) to classify plaintiff BONGHOON

     LEE as immigrant under 203(b)(3) of the Immigration and Nationality

     Act (INA) in File No. LIN-16-227-50220.

8. On June 22, 2017, BONGHOON LEE was interviewed at the U.S.

   Embassy in Seoul regarding his application for an immigrant visa.



9. Shortly thereafter BONGHOON LEE was informed that his application

   had been sent to the USCIS’s Nebraska Service Center for unspecified

   reasons.



10. No information has ever been received since that date regarding the


                                       3
       Case 1:18-cv-01610-JEB Document 1 Filed 07/06/18 Page 4 of 8




   status of this matter aside from the fact that the Nebraska Service Center

   is engaged in some unspecified “process” pertaining to it.

                                  COUNT I

THE CONSUL GENERAL HAS BREACHED HER DUTY TO
BONGHOON LEE TO MAKE A FINAL DECISION ON HIS IMMIGRANT
VISA APPLICATION WITHIN A REASONABLE TIME.

  14. ANGELA KERWIN, Consul General of the U.S. Embassy in Seoul, is an

     officer of the United States Department of State, an agency of the United

     States government.



  15. The Consul General of the U.S. Embassy in Seoul owes a duty to

     BONGHOON LEE to make a decision regarding his immigrant visa

     application within a reasonable period of time. 5 U.S.C. § 555(b) ("With

     due regard for the convenience and necessity of the parties or their

     representatives and within a reasonable time, each agency shall proceed to

     conclude a matter presented to it.").



  16. The time in which this application has been pending with the Consul

     General of the U.S. Embassy in Seoul and her predecessors, is well beyond

     the time which is reasonably required to adjudicate it.




                                         4
        Case 1:18-cv-01610-JEB Document 1 Filed 07/06/18 Page 5 of 8




   17. This Court has authority under 28 U.S.C. § 1361 to compel an officer or

      employee of the United States to perform a duty owed to the Plaintiff.



   18. This Court also has authority under 5 U.S.C. § 706(1) to compel agency

      action unlawfully withheld or unreasonably delayed.



   19. The Ninth Circuit has held that consulates may be required to issue or refuse

      a visa:

            A consular office is required by law to act on visa applications. Under
            22 C.F.R. § 42.81, "[w]hen a visa application has been properly
            completed and executed before a consular officer in accordance with
            the provision of INA and the implementing regulations, the consular
            officer shall either issue or refuse the visa. Every refusal shall be in
            conformance with the provisions of 22 C.F.R. 40.6." In addition, the
            section is entitled, "Issuance or refusal mandatory."

Patel v. Reno, 134 F.3d 929, 932 (9th Cir. 1997)

                              RELIEF REQUESTED

   20. WHEREFORE it is respectfully requested that the Court find that an

      adjudication of BONGHOON LEE’s application for a visa to have been

      unreasonably delayed and compel Defendant, the Consul General of the

      U.S. Embassy in Seoul, to adjudicate BONGHOON LEE’s application for

      an immigrant visa in no more than 30 days from the date of the Court's

      order, and to take such other action as it deems appropriate.



                                         5
       Case 1:18-cv-01610-JEB Document 1 Filed 07/06/18 Page 6 of 8




                                    COUNT II

THE USCIS AND THE DIRECTOR OF ITS NEBRASKA SERVICE
CENTER HAVE BREACHED THEIR DUTY TO PLAINTIFF TO
“PROCESS” THE IMMIGRANT VISA PETITION APPROVED UPON MR.
LEE’S BEHALF


  14. The UNITED STATES CITIZENSHIP AND IMMIGRATION

    SERVICES and KRISTINE R. CRANDALL, in her official capacity as the

    Acting Director of the United States Citizenship and Immigration Services’

    Nebraska Service Center, both owe a duty to BONGHOON LEE to

    “process” TLC Animal Clinic’s Petition for Immigrant Worker upon behalf

    of BONGHOON LEE within a reasonable period of time. 5 U.S.C. §

    555(b) ("With due regard for the convenience and necessity of the parties

    or their representatives and within a reasonable time, each agency shall

    proceed to conclude a matter presented to it.").

  15. This petition has been pending with The UNITED STATES CITIZENSHIP

    AND IMMIGRATION SERVICES and KRISTINE R. CRANDALL, in her

    official capacity as the Acting Director of the United States Citizenship and

    Immigration Services’ Nebraska Service Center, well beyond the time which

    is reasonably required to “process” it.




                                        6
        Case 1:18-cv-01610-JEB Document 1 Filed 07/06/18 Page 7 of 8




   16. This Court has authority under 28 U.S.C. § 1361 to compel an officer or

      employee of the United States to perform a duty owed to the Plaintiff.



   17. This Court also has authority under 5 U.S.C. § 706(1) to compel agency

      action unlawfully withheld or unreasonably delayed.


                              RELIEF REQUESTED

   18. WHEREFORE it is respectfully requested that the Court find that the

      “processing” of TLC Animal Clinic’s Petition for Immigrant Worker upon

      behalf of BONGHOON LEE to be unreasonably delayed and compel said

      Defendants to complete its “processing” of this petition in no more than 30

      days from the date of the Court's order, and to take such other action as it

      deems appropriate.




Dated this 25th day of June, 2018



s/ Michael E. Piston MI 002
Attorney for the Plaintiffs
225 Broadway Ste 307
New York, NY 10007
646-845-9895
Fx: 206-770-6350



                                          7
Case 1:18-cv-01610-JEB Document 1 Filed 07/06/18 Page 8 of 8




                             8
